             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

GREENLITE HOLDINGS, LLC,                       )
                                               )
                     Plaintiff,                )
vs.                                            )           NO. CIV-21-0646-HE
                                               )
THIRD COAST INSURANCE CO.,                     )
                                               )
                     Defendant.                )

                       ADMINISTRATIVE CLOSING ORDER

       The court is advised that the parties have reached a compromise and settlement.

Accordingly, the Clerk of Court is directed to administratively terminate this action in her

records without prejudice to the right of a party to file a stipulation or order of dismissal

or, for good cause shown upon motion, to reopen the proceeding for any other purpose

necessary to obtain a final determination of the action.

       If, within forty-five (45) days from the date of this order, closing papers have not

been filed or leave sought to reopen the case, this action shall be deemed dismissed with

prejudice.

       IT IS SO ORDERED.

       Dated this 12th day of October, 2022.
